           Case 18-32835          Doc 11   Filed 12/28/18 Entered 12/28/18 14:28:59   Desc Main
                                             Document     Page 1 of 7



                                 IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

  In re:                                              )Case No.: 18-32835
        Kevin Koskela                                 )
                                                      )Chapter: Chapter 13
                            Debtor(s)                 )
                                                      )Judge: Honorable Carol A. Doyle



                                               NOTICE OF MOTION

  To:
  Kevin Koskela, 1115 W Patterson Ave #3F, Chicago, IL 60613

  Vaughn, Tom, Trustee, 55 E. Monroe St # 3850, Chicago, IL 60603


  PLEASE        NOTICE that on 1/29/19 at 10.30 a.m. I shall appear before the
               TAKE
  Honorable   Honorable Carol A. Doyle in 219 S. Dearborn St. Courtroom 742,
  Chicago, IL 60604     and then and there present the attached MOTION FOR
  ORIGINAL FEES, a copy of which is attached hereto.

                                By:   /s/ Jonathan D. Parker___
                                      Jonathan D. Parker, Attorney for Debtor(s)




                                             CERTIFICATE OF SERVICE

  I, Jonathan D. Parker, hereby certify that a copy of this Notice along with
  the aforementioned document was served upon the above parties, by depositing
  the same in the U.S. Mail at 55 E. Monroe St., Chicago, Illinois, 60603,
  before 5:30 p.m. on 12/28/2018, except that the Chapter 13 Trustee was
  served via electronic notice on such date.




                                By:   /s/ Jonathan D. Parker___
                                      Jonathan D. Parker, Attorney for Debtor(s)


  Attorneys for the Debtor(s)
  Prepared by: Jonathan D. Parker
  Geraci Law L.L.C.
  55 E. Monroe Street #3400
  Chicago, IL 60603
  (Ph): 312.332.1800     (Fax): 877.247.1960




Our Client(s) Record # 805282
        Case18-32835
        Case 18-32835 Doc
                      Doc911 Filed
                               Filed 12/28/18 Entered
                                   11/29/18      Entered 12/28/18
                                                       11/29/18   14:28:59 Desc
                                                                23:29:33    Desc  Main
                                                                                Imaged
                                 Document       Page 2 of 7
                             Certificate of Notice Page 1 of 3
Information to identify the case:
Debtor 1                 Kevin Michael Koskela                                                  Social Security number or ITIN    xxx−xx−5208

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        Northern District of Illinois
                                                                                                Date case filed for chapter 13 11/26/18
Case number:          18−32835



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         Kevin Michael Koskela

2. All other names used in the
   last 8 years
                                              1115 W Patterson Ave
3. Address                                    APT# 3F
                                              Chicago, IL 60613
                                              Jonathan D Parker                                             Contact phone 312.332.1800
4. Debtor's  attorney
   Name and address
                                              Geraci Law L.L.C.
                                              55 E. Monroe St. Suite #3400
                                                                                                            Email: ndil@geracilaw.com

                                              Chicago, IL 60603

5. Bankruptcy trustee                         Tom Vaughn                                                    Contact phone 312 294−5900
     Name and address                         55 E. Monroe Street, Suite 3850
                                              Chicago, IL 60603

6. Bankruptcy clerk's office                                                                                Hours open:
     Documents in this case may be filed      Eastern Division                                              8:30 a.m. until 4:30 p.m. except Saturdays,
     at this address.                         219 S Dearborn                                                Sundays and legal holidays.
     You may inspect all records filed in     7th Floor                                                     Contact phone 1−866−222−8029
     this case at this office or online at    Chicago, IL 60604                                             Date: 11/27/18
      www.pacer.gov.
                                                                                                                  For more information, see page 2




Official Form 309I                                     Notice of Chapter 13 Bankruptcy Case                                               page 1
       Case18-32835
       Case 18-32835 Doc
                     Doc911 Filed
                              Filed 12/28/18 Entered
                                  11/29/18      Entered 12/28/18
                                                      11/29/18   14:28:59 Desc
                                                               23:29:33    Desc  Main
                                                                               Imaged
                                Document       Page 3 of 7
                            Certificate of Notice Page 2 of 3
Debtor Kevin Michael Koskela                                                                                                             Case number 18−32835

7. Meeting of creditors
    Debtors must attend the meeting to     January 8, 2019 at 01:30 PM                                        Location:
    be questioned under oath. In a joint                                                                     55 East Monroe, Suite 3850, Chicago, IL 60603
    case, both spouses must attend.
    Creditors may attend, but are not      The meeting may be continued or adjourned to a
    required to do so.                     later date. If so, the date will be on the court
                                           docket.
                                           Debtors must bring a picture ID and proof of
                                           their Social Security Number.
8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 3/11/19
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                               not entitled to receive a discharge under
                                               U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                               debt excepted from discharge under
                                               11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: 2/4/19
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                       Filing deadline: 5/28/19
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Filing of plan                          The debtor has filed a plan. The plan is enclosed. The hearing on confirmation will be held on:
                                           1/29/19 at 10:30 AM , Location: 219 South Dearborn, Courtroom 742, Chicago, IL 60604

                                           The Disclosure of Compensation has been filed and the debtor's attorney is requesting
                                           fees of $ 4000.00
                                           Objections to confirmation of the Plan shall be filed at least 7 days prior to the confirmation
                                           hearing. If there are no objections, the Court may confirm the plan and allow fees requested
                                           by debtor's counsel to be paid through the plan.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy the plan, if not enclosed, will be sent to you later, and if the
                                           confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                           the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                           If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.




Official Form 309I                                    Notice of Chapter 13 Bankruptcy Case                                                     page 2
           Case18-32835
           Case 18-32835 Doc
                         Doc911 Filed
                                  Filed 12/28/18 Entered
                                      11/29/18      Entered 12/28/18
                                                          11/29/18   14:28:59 Desc
                                                                   23:29:33    Desc  Main
                                                                                   Imaged
                                    Document       Page 4 of 7
                                Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 18-32835-CAD
Kevin Michael Koskela                                                                                      Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: corrinal                     Page 1 of 1                          Date Rcvd: Nov 27, 2018
                                      Form ID: 309I                      Total Noticed: 15


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 29, 2018.
db             +Kevin Michael Koskela,    1115 W Patterson Ave,    APT# 3F,    Chicago, IL 60613-3858
27325101      ++CITIBANK,    PO BOX 790034,   ST LOUIS MO 63179-0034
               (address filed with court: CBNA,      Attn: Bankruptcy Dept.,    50 Northwest Point Road,
                 Elk Grove Village,IL 60007)
27325111       +Equifax,    Attn: Bankruptcy Dept.,    PO Box 740241,    Atlanta,GA 30374-0241
27325110       +Experian,    Attn: Bankruptcy Dept.,    PO Box 2002,    Allen,TX 75013-2002
27325109        Transunion,    Attn: Bankruptcy Dept.,    PO Box 1000,    Chester,PA 19022
27325103       +US DEPT OF ED/Glelsi,    Attn: Bankruptcy Dept.,     Po Box 7860,   Madison,WI 53707-7860

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: ndil@geracilaw.com Nov 28 2018 01:46:37       Jonathan D Parker,    Geraci Law L.L.C.,
                 55 E. Monroe St. Suite #3400,    Chicago, IL 60603
tr             +E-mail/Text: 341NOTICE@TVCH13.NET Nov 28 2018 01:49:21       Tom Vaughn,
                 55 E. Monroe Street, Suite 3850,    Chicago, IL 60603-5764
ust            +E-mail/Text: USTPREGION11.ES.ECF@USDOJ.GOV Nov 28 2018 01:47:51       Patrick S Layng,
                 Office of the U.S. Trustee, Region 11,    219 S Dearborn St,    Room 873,
                 Chicago, IL 60604-2027
27325105       +EDI: AMEREXPR.COM Nov 28 2018 06:28:00      AMEX,    Attn: Bankruptcy Dept.,    Po Box 297871,
                 Fort Lauderdale,FL 33329-7871
27325098        EDI: BANKAMER.COM Nov 28 2018 06:28:00      BK OF AMER,    Attn: Bankruptcy Dept.,
                 Po Box 982238,   El Paso,TX 79998
27325099       +EDI: CHASE.COM Nov 28 2018 06:28:00      Chase CARD,    Attn: Bankruptcy Dept.,    Po Box 15298,
                 Wilmington,DE 19850-5298
27325107       +EDI: DISCOVER.COM Nov 28 2018 06:28:00      Discover FIN SVCS LLC,    Attn: Bankruptcy Dept.,
                 Po Box 15316,   Wilmington,DE 19850-5316
27325102       +EDI: HFC.COM Nov 28 2018 06:28:00      HSBC BANK,    Attn: Bankruptcy Dept.,    95 Washington St,
                 Buffalo,NY 14203-3006
27325104       +EDI: WFFC.COM Nov 28 2018 06:28:00      WF CRD SVC,    Attn: Bankruptcy Dept.,    Po Box 14517,
                 Des Moines,IA 50306-3517
                                                                                               TOTAL: 9

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
27325106*        +Chase CARD,   Attn: Bankruptcy Dept.,   Po Box 15298,   Wilmington,DE 19850-5298
27325108*        +Chase CARD,   Attn: Bankruptcy Dept.,   Po Box 15298,   Wilmington,DE 19850-5298
27325100*        +Chase CARD,   Attn: Bankruptcy Dept.,   Po Box 15298,   Wilmington,DE 19850-5298
                                                                                              TOTALS: 0, * 3, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 29, 2018                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 27, 2018 at the address(es) listed below:
              Jonathan D Parker   on behalf of Debtor 1 Kevin Michael Koskela ndil@geracilaw.com
              Patrick S Layng   USTPRegion11.ES.ECF@usdoj.gov
              Tom Vaughn    ecf@tvch13.net, ecfchi@gmail.com
                                                                                            TOTAL: 3
            Case 18-32835           Doc 11      Filed 12/28/18 Entered 12/28/18 14:28:59                 Desc Main
                                                  Document     Page 5 of 7
                                             UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                                         EASTERN DIVISION

     In re:    Kevin Koskela                                     )       BK No.:      18-32835
                                                                 )
                                                                 )       Chapter:     13
                                                                 )       Judge:       Honorable Carol A. Doyle
                                                                 )
                                                                 )
               Debtor(s)                                         )

                        ATTORNEY'S APPLICATION FOR CHAPTER 13 COMPENSATION UNDER
                               THE COURT-APPROVED RETENTION AGREEMENT
                                    (Use for cases filed on or after April 20, 2015)

The undersigned attorney seeks compensation pursuant to 11 U.S.C. § 330(a)(4)(B) and the Court-Approved
Retention Agreement executed by the debtor(s) and the attorney, for representing the interests of the debtor(s)
in this case.

    Use of Court-Approved Retention Agreement:

    The attorney and the debtor(s) have entered into the Court-Approved Retention Agreement.

    Attorney Certification:

    The attorney hereby certifies that:
    1.      All disclosures required by General Order No. 11-2 have been made.

    2.        The attorney and the debtor(s) have either:

              (i) not entered into any other agreements that provide for the attorney to receive:

                   a.        any kind of compensation, reimbursement, or other payment, or

                   b.        any form of, or security for, compensation, reimbursement, or other payment that varies
                             from the Court-Approved Retention Agreement; or

              (ii) have specifically discussed and understand that:

                   a.        the Bankruptcy Code may require a debtor's attorney to provide the debtor with certain
                             documents and agreements at the start of the representation;

                   b.        the terms of the Court-Approved Retention Agreement take the place of any conflicting
                             provision in an earlier agreement;

                   c.        the Court-Approved Retention Agreement cannot be modified in any way by other
                             agreements; and

                   d.        any provision of another agreement between the debtor and the attorney that conflicts
                             with the Court-Approved Retention Agreement is void.

 Our Client(s) Record # 805282                                                                      Local Bankruptcy Form 23-1
            Case 18-32835           Doc 11     Filed 12/28/18 Entered 12/28/18 14:28:59                     Desc Main
                                                 Document     Page 6 of 7
Compensation sought for services in this case pursuant to the Court-Approved Retention Agreement:
   $ 4,000.00 flat fee for services through case closing

Reimbursement sought for expenses in this case:
   $ 0.00    for filing fee paid by the attorney with the attorney's funds

    $ 40.00        for other expenses incurred in connection with the case and paid by the attorney with
                   the attorney's funds (itemization must be attached)

    $ 40.00        Total reimbursement requested for expenses.

Funds previously paid to the attorney by or on behalf of the debtor(s) in the year before filing this
case and not reflected in or related to the Court-Approved Retention Agreement:

     X  None
    A total of $ 0.00        .




Date of Application:       December 28, 2018                 Attorney Signature    /s/ Jonathan D. Parker




 Our Client(s) Record # 805282                                                                       Local Bankruptcy Form 23-1
 Case 18-32835   Doc 11     Filed 12/28/18 Entered 12/28/18 14:28:59    Desc Main
                              Document     Page 7 of 7




                                    Expenses


Docket No:       18-32835
Debtor:          Kevin Kosekela


Expense:                              Date incurred:                   Total Charge:
Copies                                11/09/2018 – 12/27/2018          $25
Postage                               11/09/2018 – 12/27/2018          $15


                                                       TOTAL CHARGE:   $40.00
